Case 8:20-cv-02768-KKM-TGW Document 1-2 Filed 11/23/20 Page 1 of 1 PagelD 11

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

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Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Keg 4 e SE Ps A. 4 CA Zf

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Fou dau been “ay, G cA you. 9I336

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: fh ay a 5 Aamo 5S = foo _ Sz
4653 Mariner blod
Spry Fh 1, FL “L079
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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

1 Signature of C lerk or Deputy Clerk
